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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :        Case No. 21-MJ-289
                                             :
CORRINE MONTONI,                             :
                                             :
                      Defendant.             :


                       NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Attorney Jeffrey Kiok, hereby informs the Court that he is entering

his appearance in this matter on behalf of the United States. Assistant United States Attorney

Michael DiLorenzo no longer represents the United States in this matter.


                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052

Date: May 17, 2022                               By: __/s/ Jeffrey A. Kiok__________
                                                      JEFFREY A. KIOK
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